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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                         §
                                                §
               Plaintiffs,                      §
                                                §
       v.                                       § Case No. 1:18-CV-68
                                                §
UNITED STATES OF AMERICA, et al.,               §
                                                §
               Defendants,                      §
                                                §
and                                             §
                                                §
KARLA PEREZ, et al.,                            §
                                                §
               Defendant-Intervenors,           §
                                                §
and                                             §
                                                §
STATE OF NEW JERSEY,                            §
                                                §
               Defendant-Intervenor.            §


                      DEFENDANT-INTERVENORS’
      UNOPPOSED MOTION TO WITHDRAW ALEJANDRA ÁVILA AS COUNSEL

       Defendant-Intervenors Karla Perez, et al., respectfully move to withdraw Alejandra Ávila

as an attorney in this case.   Ms. Ávila will be ending her employment with the Mexican

American Legal Defense and Educational Fund (MALDEF) on August 2, 2019. Her withdrawal

will not cause undue delay and will not adversely affect the interests of Defendant-Intervenors

Karla Perez, et al.

       Defendant-Intervenors Karla Perez, et al., will continue to be represented by Attorney-in-

charge, Nina Perales, and attorneys Ernest Herrera and Denise Hulett (MALDEF), Douglas H.

Hallward-Driemeier (Ropes & Gray), Carlos Moctezuma García (García & García Law Firm).
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       For these reasons, Defendant-Intervenors Karla Perez, et al., respectfully request leave to

withdrawal Alejandra Ávila as counsel in this case.

Dated: July 26, 2019                                  Respectfully Submitted

                                                      MEXICAN AMERICAN LEGAL
                                                      DEFENSE AND EDUCATIONAL FUND
                                                      By: /s/ Nina Perales
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                                                       Attorneys for Defendant-Intervenors



                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on July 24, 2019, I emailed counsel of record

for all parties. Plaintiff States and Federal Defendants do not oppose the motion.


                                               /s/ Alejandra Ávila
                                               Alejandra Ávila



                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on July 26, 2019, I electronically filed the above

and foregoing document using the CM/ECF system, which automatically sends notice and a

copy of the filing to all counsel of record.


                                               /s/ Alejandra Ávila
                                               Alejandra Ávila




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